UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PAS() DIVISION

JEROME RATLIFF, JR., §
§
Plaintiff, §
§

v. § EP»IS-CV~00376-FM .
§
MESILLA VALLEY §
TRANSPORTATION, INC.; MVT §
SERVICES, LLC, §
- §
Defendants. §

ORDER GRANTING PLAINTIFF’S MOTION TO REMAND

Before the court are “Plaintiff`s Motion for Remand” (“Motion”) [ECF No. 2], filed
January 10, 2019-by Jerorne Ratliff, Jr. (“Plaintiff”); Defendants’ Resporise to Plaintiff’S Motion
to Renian ” (“Response”) [ECF No. 3], filed January 17, 2019 by Mesilla Valley Transportation
Inc. and MVT Services, LLC (collectively “MVT”); and “Corrected Plaintiff’ s Reply in Support
of Motion for Remand” (“Reply”) [ECF No. 5], filed January 24, 2018. After due consideration
of the Motion, Response, Reply, and applicable law, the Motion is GRANTED. l
I. BACKGROUND

A. Factual Background

. On May 3, 2018, Plaintiff filed suit in the 34th Judicial District Court in El Paso County,

Texas, alleging MVT violated the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et

seq.l Plaintiff submitted an online application for a commercial truck driver position With MVTl

 

. 1 “Defendants’ Notice of Removal” (“Not. Rer_n.”), E,CF No. 1, filed Dec. 11, 2018, “Class Actiou Petition
and Demand for Jury Trial” (“Pet.”), Ex. A.

in December 2014.2 MVT obtained a background report on Plaintiff from I-IireRight.3 MVT did
not hire Plaintiff.4 I-Ie contends that he Was disqualified for employment based on the HireRight

report.5
_ Plaintiff alleges that MVT failed to comply With the FCRA When it:

did not provide Ratliff With the notice required by the FCRA Within three business
days of deciding not to hire him, _incl_uding, for example (i) that MVT decided not
to hire Ratliff based in Whole or in part on a consumer report received from
HireRight; (ii) the narne, address and telephone number of I-Iire Right; (iii) that
I-IireRight did not make the decision to take the adverse action and is unable to
provide to Ratliff the specific reasons Why the adverse action Was taken; and (iv)
that Ratliff could have dispute With HireRight the accuracy or completeness of any
information in the report.6

MVT removed the case to this court on Decernber ll, 2018.7
This is not Plaintiff’s first suit on the matter He previously filed suit in the United Stat'es
District Court for the Northern District of Illinois, also alleging MVT violated the FCRA.g The
Honorable Jorge L. Alonso (“District Judge”) dismissed the suit, holding Plaintiff failed to allege
an injury-in-fact and therefore failed to establish standing9 The District Judge reasoned:
Plainly, plaintiff has alleged a technical violation of the statute, namely that
defendants failed to provide the relevant notice Within. three business days. The
question is Whether plaintiff has alleged concrete harm. This Court thinks he has

not. The plain language of the statute tells this Court that the purpose of notifying
the consumer is so the consumer can obtain a' copy of the report and then dispute

 

1 1a at s 1125.

3 Id. at 8 1[ 26.

4 rd. ar s 11 2a
_5 Ia’. at 8 1127, 28.-

6 Pet. 81129.

7 See Not. Rem.

s See Mot., “Order” (“Ord.”), EX. C.

gld. at 4.

 

 

with the consumer reporting agency (i.e., HireRight) the accuracy of _ the
information See 15 U.S.C. § loSl(b)(S)(B)(i)(i\/). Plaintiff does not allege that
any of the information Was inaccurate . . . this Court cannot fathom how Plaintiff
could have suffered concrete harm. He does not even allege that he asked for a
copy of the report and Was denied. Plaintiff, instead, argues that his privacy has
been invaded by the technical violation, but the Court does not see anything in the `
language of the statute that suggest a privacy right. Nor does Plaintiff allege
Defendants obtained the report Without his permission10
As Plaintiff did not have standing, the court lacked subject matter jurisdiction and dismissed the
case.11 Notably, MVT does not contest the decision from the Northern District of Illinois.
B. Parties ’ Arguments
Plaintiff moves to remand this case to state court, arguing MVT improperly removed it.12
Plaintiff points out that the District Judge dismissed an identical suit for lack cf Subject matter
jurisdiction.13 Plaintiff claims MVT cannot change the position it took before the Northern
District of Illinois under the doctrine of judicial estoppel.14 According to Plaintiff, collateral
estoppel precludes the parties from re-litigating the issue of subject matter jurisdiction15 Thus,

Plaintiff contends, the court is Without jurisdiction, and the case should be remanded.16 Lastly,

Plaintiff seeks attorney’s fees and costs pursuant to 28 U.S.C. § 1447(0).17'

 

10 Ia'. at 3~4.
11Ia'. at 4.

12 Id. at 3~4.
13 Id_ '

14 Mot. 4.

15 Id. at 5.

16 Ia’.

17 far

MVT counters that removal is proper, as this suit involves a federal claim.18 MVT
contends the court should dismiss the case, as remand Would be futile. 19 According to MVT,the
state court Would dismiss the case under Texas’s standing doctrine, rendering remand futile.20

In reply, Plaintiff argues MVT did not carry its burden to show federal jurisdiction exists
and removal is proper, as the issue of subject matter jurisdiction Was already resolved by the
Northern District of Illinois'.21 He claims MVT therefore lacked an “objectively reasonable basis
for removal.”22 Lastly, Plaintiff argues the futility-exception doctrine does not apply.23
II. LEGAL STANDARD

A. Removal 1

28 U.S.C. § 144l(a) provides for the removal of civil actions brought in a state court'over
Which a district court has original jurisdiction “A federal district court may exercise original
jurisdiction over any civil action that either satisfies diversity requirements or that arises under
the federal constitution, statutes, or treaties.”24 “.Thus, under § 1441, removal is proper only
When the court has original jurisdiction over at least one asserted claim under either federal

question or diversity jurisdiction.”25

 

18 Resp. 4.
19 Id. at 5.
11"1.:£. at 7.
21 Reply 1.
22 ]d. at 2.
23 Id. at 5.

24 Energy Mgm_t. Servs., L.L.C. v. City ofA!exandria, 739 F.3d 255, 258-59 (5th Cir. 2014) (citing 28
U.s.c. §§ 1331, 1332,1369).

25 Ia'. at 259.

Rernoval from state court raises significant federalism concerns.26 The removing party
bears the burden of showing that federal jurisdiction exists and that removal Was proper.27
“[D]oubts regarding Whether removal jurisdiction is proper should be resolved against federal
jurisdiction.”23
III. DISCUSSION

A. Subjecr Matter Jurisdictz`on

Plaintiff argues remand is the appropriate course of action, reasoning the doctrines of
judicial and collateral estoppel prevent MVT from re-litigating the issue of subject matter
jurisdiction29 Collateral estoppel “promotes the interests of judicial economy"by treating
specific issues of fact or law that are validly and necessarily determined between two parties as
final and conclusive.”30 Collateral estoppel applies When: “(1) the identical issue Was previously
adjudicated; (2) the issue Was actually litigated; and (31 the previous determination Was
necessary to the decision.”31

Here, the parties are identical to the case before the Northern District of Illinois. The

issue before this court_vvhether the court has subject matter jurisdiction over the case--is

identical to that before the Northern District of Illinois.32 The issue Was fully litigated before the

 

26 Gutferrez v. Flores, 543 F.3d 248, 251 (Sth Cir. 2008).

27 De Agailar v_ eagng Ca, 47 F.3d 1404, 1403 (srh cir. 1995).

28 Acana v. Bmwa & Raa:, rnc., 200 F.3d 335, 339 (Sth Cir. 2000).
29 Mot. 4.

30 UnftedStates v. Sh_anbaum, 10 F.3d 305, 311 (Sth Cir. 1994).

31 Pace v. Bogalusa Cit'y Sch. Bd., 403 F.3d 272, 290 (5th Cir. 2005).

32 See generally Pet.; Ord.

 

Northern District of Illinois, and there Was a final adjudication33 'l`he determination of subject

matter jurisdiction Was necessary to its decision to dismiss the case. Under the doctrine of

collateral estoppel, the parties cannot re-litigate the issue of subject matter jurisdiction before this

courtl As this court is bound by the prior adjudication, this court is Without subject matter
jurisdiction
B. Remana'
lmportantly, the parties do not dispute that the issue of subject matter jurisdiction Was
already resolved.34 Nor do they contest the judgment by the District Judge.35 Rather, they
disagree on the proper recourse-jwhether the court should remand pursuant to 28 U.S.C.
§ 1447(0) or dismiss the Suit outright under the futility~exception doctrine.36 MVT contends this
_ court should dismiss rather than remand, as remand Would be 1iitile.37 MVT explains the case
-Would necessarily be dismissed in state court under Texas’s standing doctrine, which closely l
mirrors Article lll standing requirements38 According to Plaintiff, the proper forum to
determine Texas standing law is the Texas state courts.39
Title 28, United States Code, section 1447(0) provides: “If at any time before final

judgment it appears that the district court lacks subject matter jurisdiction, the case shall be

 

33 See generally Ord.

34 See Mot. 55 see generally Resp.
33 See Mot. 5; see generally Resp.
313 See Mot. 5; Resp. 5 .

33 Resp. 4.

311 Id. at 5. 7

39 Reply 2.

remanded.”4° Nevertheless, courts recognize an exception to the rule_the futility-exception
doctrine.41 Under the futility-exception doctrine, “the district court may dismiss, rather than
remand, an action if remand would be futile because the court to which the action Would be
remanded would itself lack jurisdiction.”42
_In Inrernaiiorial Primare Proteciion Leagae v. A_dminisrraiors of Tulane Edacaiional
Fund,43 the United States Supreme `Conrt concluded that the National Institutes_ of Health
(“NIH”) lacked authority to remove the suit to federal court.44 Despite NII-I’s claim that remand
would be futile, the Court remanded the case. 43 lt noted uncertainties in the outcome, explaining
the case turned on a question of Louisiana law-whether either NlH or one of its officers Was an
indispensable party.46 The Court declined “to speculate on the proper result.”47
Like international Prirnate Proiection Leagae, this court would be required to
“speculate” on an issue of state law_Whether Plaintiff has standing to sue in Texas state courts.
Under Texas law, standing “derives from the Texas Const_itution’s separation of powers among

the departments of .governmen_t, Which denies the judiciary authority to decide issues in the

abstract, and from the Open Courts provision, which provides court access only to a ‘person for

 

4° 28 U.S.C. § 1447(0) (emphasis added).

41 See Int'l Primate Pror. League v. Adm ’rs ofTalane Edac. Fand, 500 U.S. 72, 87~88 (1991); Boaz
Legacy, L.P. v. Roberts, 628 Fed. App’x 318, 321 (5th Cir. 2016) (hofding remand would be futile because “Texas
law plainly indicates that the local action doctrine applies in Texas and that this type of dispute is a local action.”);
In re Halo Wireless, Inc., 872 F. Supp. 2d 558, 563 (W.D. Tex. 2012).

42 In re Halo Wireless, lnc., 872 F. Supp. 2d at 563.

43 500 U.S. 72 (1991).

44 la at 76.

43 la'. at 89.

44 Ia'. ,

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an injury done him.”’48 To have standing under Texas law, the plaintiff “must be personally
aggrieved,” and “his alleged injury must be concrete and particularizedl actual or imminent, not
hypothetical.”49 While Texas courts have looked to federal case law for guidance on standing,50 1
it nevertheless remains an issue of state iaw.51 The court is of the opinion that Texas state court
is the proper venue to determine whether Plaintiff has standing to sue in Texas state court. This
court declines to “speculate on the proper result.”52 This conclusion to remand is further
strengthened by the plain language of 28 U.S.C. § 1447(c), which provides that “the case shall be
remanded” upon a finding of no subject matter jurisdiction53 Accordingly, remand is the proper
recourse. 1

C. Aitorney ’s Fees and Cosi‘s

1. Whether Plaintiff is Entitled to Attornev’s Fees and Costs -
Plaintiff requests fees and costs incurred as result of removal54 Pursuant to 28 U.S.C. §

1447(c), “[a]n order remanding the case may require payment of just costs and any actual

 

44 DaimlerChrysler Corp.'v. Inman, 252 S.W.?>d 299, 304 (Tex. 2008) (quoting Texas Ass ’n ofBas., 852
S.W.2d 440, 444 (TeX. 1993)).

49 Ia’. at 304~05.

3° See Tex. Ass ’n ofBas., 852 S.W.2d at 444 (“Because standing is a constitutional prerequisite to
maintaining a suit under both federal and Texas law, we look to the more extensive jurisprudential experience of the
federal courts on this subject for any guidance it may yield.”).

31 Scholars have noted uncertainties remain in Texas law on standingl See William v. Dorsaneo, III, The
Enigma ofStanding Docrrine in Texas Courts, 28 REV. LITIG. 35~37 (2008) (“The court’s new approach to standing
complicates Texas procedural law by embracing a complex body of federal constitutional law without clearly
explaining whether a claimant must possess a legal injury resulting nom the breach of a legal duty, or whether some
other type of interest or injury is sufficient to satisfy Texas’s standing requirements,”).

32 Int’l Primate Prot. Leagae, 500 U.S. at 89.

33 28 U.S.C. § 1447(c) (emphasis added).

34 Mot. 5.

expenses, including attorney fees, incurred as a result of the removal.”33 A court may award
attorney’s fees where “the removing party lacks an objectively reasonable basis for removal.”36
MVT argues it had objectively reasonable grounds to_ remove the case, as (1) the claim
for relief asserted in this case is a federal cause of action; and (2) the relief Plaintiff seeks arises
under federal law.57 Plaintiff counters that removal was objectively unreasonably because “there

was no question whether federal subject matter jurisdiction was proper in this case.”33

Federal courts “possess only that power authorized by Constitution and statute.”59

Article Ill limits the jurisdiction of federal courts to “cases” and “controversies.”30 The facts

before this court are simple. The court reiterates that there was already a final determination on

whether the federal court had subject matter jurisdiction over the matter.61 The parties, including

MVT, ,do not dispute this. MVT removed the case from state court to federal court despite this
prior determination62 As the issue had been conclusively determined, MVT was aware that this
case does not present a “case” or “controversy”-»a constitutional requirement of subject matter
jurisdiction The fact that the claim arises under federal law does not permit MVT to ignorethe

constitutional requirements of subject matter jurisdiction It was objectively unreasonable to `

 

55 28 U.s.c. § 1447(¢).

33 Am. Airlines, Inc. v. Sabre, Inc., 694 F.3d 53 9, 542 (5th Cir. 2012) (quoting Howara' v. Si Germain, 599
F.Zd 455, 457 (Sth Cir. 2010) (per curiam)).

33 Resp. 4.

33 Mot. 7.

33 Kokkonen v. Guardian Lz_`fe Ins. Co. ofAinerica, 511 U.S. 375, 377 (1994).
611 U.S. CoNsT. art HI., § 2.

31 See Ord. 4.

33 See Not. Rem. 1.

remove this case. This has resulted in a waste of judicial resources, a waste of the parties’ time,
and prolongment of the suit. Therefore, an award of attorney’s fees is warranted
2. Calculation of Attornev’s Fees and Costs

The Fifth Circuit uses a two-step method for the determination of a reasonable award of
attorney’s fees.31 A court first calculates the “lodestar” by multiplying the number of hours
reasonably expended by an appropriate hourly rate in the community for such work.63 The court
may then “decrease or enhance the lodestar based on the relative Weights of the twelve factors set
forth in Johnson v. Georgia Highway Express, lnc.”34

Michael Aschenbrener, counsel for Plaintiff, submitted a declaration, testifying to the
number of hours expended on the case and the hourly rates.35 Under Fifth Circuit jurisprudence,
this is insufficient evidence.33 Plaintiff must provide evidence of what an appropriate hourly rate
in the community for such Work would be. The fact that Plaintiff"s counsel charges a certain
hourly rate does not illuminate on what'an appropriate rate would be for the community

Accordingly, Plaintiff must provide additional information, so the court.rnay determine a proper

award.

 

31 Combs v. Ciiy ofHuntington, Texas, 829 F.3d 388, 391 (5th Cir. 2016).
63 1a at392. 1 '

34 Id. (citing to 488 F.2d 7'14, 717-19 (5th Cir. 1974)). These twelve factors include'. (1) the time and labor
required; (2) the novelty and difficulty of the questions; (3) the skill requisite to perform the legal service properly;
(4) the preclusion of other employment by the attorney due to the acceptance of the case; (5) the customary fee;

(6) whether the fee is fixed or contingent; (7) time limitations imposed by the client or the circumstances; (8) the
amount involved and the result obtained; (9) the experience, reputation, and ability of the attomey’s; (10) the
“undesirability” of the case; (1 i) the nature and length of the professional relationship with the client; and

(12) awards in similar cases.

33 Mot., “Declaration of Michael Aschenbrener in Support of Plaintiff’ s Motion for Remand,” ECF No. 2-4.

33 See Combs, 829 _13.3d at 391 (requiring calculation of award fees by multiplying the number of hours
reasonably expended by an appropriate hourly rate in the community for such work).

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iv. CoNcLUsIoN AND onr)nns_
_ The court is without jurisdiction over the matter. Therefore, the court remands
the case to state court pursuant to 28 U.S.C. § 1447(c). Accordingly, the court enters the
following orders: 1 1

1. lt is 'HEREBY ORDERED that “Plaintiff’ s Motion to Rernand”
[ECF No. 2] is GRANTED.

2. The court GRANTS Plaintiff lerome Ratliff, Jr. an award for reasonable
attorney’s fees and costs.

3. lt is FURTHERED ORDERED that counsel for Plaintiff lerome Ratliff,
Jr. SHOW CAUSE as to reasonable attorney’s fees and costs.

SO ORDERED.

SIGNED this é 1 day of March, 2019.

 

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FrCANK MoN'rALvo '
UNITED srATns DISTRICT JUI)GE

 

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